         Case 3:19-cv-00410-EMC Document 426 Filed 04/14/22 Page 1 of 3




1    Robert F. McCauley (SBN 162056)
     robert.mccauley@finnegan.com
2    Arpita Bhattacharyya (SBN 316454)
     arpita.bhattacharyya@finnegan.com
3    Jeffrey D. Smyth (SBN 280665)
     jeffrey.smyth@finnegan.com
4    FINNEGAN, HENDERSON, FARABOW,
       GARRETT & DUNNER, LLP
5    3300 Hillview Avenue
     Palo Alto, California 94304
6    Telephone:     (650) 849-6600
     Facsimile:     (650) 849-6666
7
     Attorneys for Plaintiff and Counterdefendant
8    ASETEK DANMARK A/S and
     Counterdefendant ASETEK USA, INC.
9
10                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12

13   ASETEK DANMARK A/S,                            CASE NO. 3:19-cv-00410-EMC

14                        Plaintiff and             ASETEK DANMARK A/S’S AND ASETEK
                          Counterdefendant,         USA, INC.’S ADMINISTRATIVE MOTION
15                                                  TO CONSIDER WHETHER ANOTHER
     ASETEK USA, INC.,                              PARTY’S MATERIAL SHOULD BE
16                                                  SEALED
                          Counterdefendant,
17
                   v.
18
     COOLIT SYSTEMS, INC.,
19
                          Defendant and
20                        Counterclaimant,

21   COOLIT SYSTEMS USA INC., COOLIT
     SYSTEMS ASIA PACIFIC LIMITED,
22   COOLIT SYSTEMS (SHENZHEN) CO.,
     LTD.,
23
                          Defendants,
24
     CORSAIR GAMING, INC. and CORSAIR
25   MEMORY, INC.,

26                        Defendants.

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28
                                                                ASETEK’S ADMIN. MOTION TO CONSIDER WHETHER
                                                                ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                                                                 CASE NO. 3:19-CV-00410-EMC
          Case 3:19-cv-00410-EMC Document 426 Filed 04/14/22 Page 2 of 3




1           Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiff and Counterdefendant Asetek

2    Danmark A/S and Asetek USA, Inc. (“Asetek”) hereby bring this Administrative Motion to Consider

3    Whether Another Party’s Material Should Be Sealed in connection with Asetek Danmark A/S’s and

4    Asetek USA, Inc.’s Opposition to Defendants’ Motion for Summary Judgement and Exhibits to the

5    Declaration of Arpita Bhattacharyya submitted in support of same, which contains, reflects, or

6    summarizes information designated by Defendants CoolIT Systems, Inc. as confidential under the

7    terms of the Stipulated Protective Order (Dkt. 51).

8           For documents designated as confidential by another party or non-party (the “Designating

9    Party”), civil Local Rule 79-5(f) requires that a filing party “identify each document or portions
10   thereof for which sealing is sought.” Civil L.R. 79-5(f)(1). “Within 7 days of the motion’s filing, the
11   Designating Party must file a statement and/or declaration as described in subsection (c)(1).” Civil
12   L.R. 79-5(f)(3).
13                             Papers Submitted for Partial Filing Under Seal
14          The green highlighted portions of Asetek Danmark A/S’s and Asetek USA, Inc.’s Opposition
15   to Defendants’ Motion for Summary Judgement contains, reflects, or summarizes information
16   CoolIT has designated Confidential or Highly-Confidential Attorneys’ Eyes Only. Based on these
17   designations, Asetek respectfully requests that the green highlighted portions of Asetek Danmark
18   A/S’s and Asetek USA, Inc.’s Opposition to Defendants’ Motion for Summary Judgement
19   provisionally remain under seal. Pursuant to Civil Local Rule 79-5(f), CoolIT bears the
20   responsibility to establish that the green highlighted portions of Asetek Danmark A/S’s and Asetek
21   USA, Inc.’s Opposition to Defendants’ Motion for Summary Judgement or certain portions thereof
22   are sealable.
23                      Papers Submitted for Filing Under Seal in Their Entireties
24          Exhibits C, D, and E to the Declaration of Arpita Bhattacharyya in Support of Asetek
25   Danmark A/S’s and Asetek USA, Inc.’s Opposition to Defendants’ Motion for Summary Judgement
26   in their entirety have previously been designated Confidential or Highly-Confidential Attorneys’
27   Eyes Only by CoolIT. Based on these designations, Asetek respectfully requests that these exhibits
28
                                                                         ASETEK’S ADMIN. MOTION TO CONSIDER WHETHER
                                                        1                ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                                                                          CASE NO. 3:19-CV-00410-EMC
          Case 3:19-cv-00410-EMC Document 426 Filed 04/14/22 Page 3 of 3




1    provisionally remain under seal. Pursuant to Civil Local Rule 79-5(f), CoolIT bears the

2    responsibility to establish that the exhibits or portions thereof are sealable.

3

4    Dated: April 14, 2022                          FINNEGAN, HENDERSON, FARABOW,
                                                     GARRETT & DUNNER, LLP
5

6                                                   By:      /s/ Arpita Bhattacharyya
                                                          Arpita Bhattacharyya
7                                                         Attorneys for Plaintiff and Counterdefendant
                                                          ASETEK DANMARK A/S and
8                                                         Counterdefendant ASETEK USA, INC.

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                                                                            ASETEK’S ADMIN. MOTION TO CONSIDER WHETHER
                                                           2                ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                                                                             CASE NO. 3:19-CV-00410-EMC
